        Case 1:25-cv-01510-JHR                Document 10           Filed 02/21/25       Page 1 of 29




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------

THE CITY OF NEW YORK,

                                           Plaintiﬀ,

                                   v.
                                                                                Case No. 25-cv-1510
 DONALD TRUMP, in his oﬃcial capacity as President of
 the United States; et al.

                                        Defendants.

------------------------------------------------------------------------




        PLAINTIFF CITY OF NEW YORK’S MEMORANDUM OF LAW
IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION AND A TEMPORARY
   RESTRAINING ORDER UNDER FEDERAL RULE OF CIVIL PROCEDURE 65


           Dated: New York, New York                             MURIEL GOODE-TRUFANT
                  February 21, 2025                              Corporation Counsel of
                                                                  the City of New York
                                                                 100 Church Street
                                                                 New York, New York 10007
                                                                 (212) 356-1000

                                                                 Attorney for Plaintiﬀ
          Case 1:25-cv-01510-JHR                            Document 10                 Filed 02/21/25                 Page 2 of 29




                                                             TABLE OF CONTENTS

Table of Authorities ....................................................................................................................... iii

Preliminary Statement ..................................................................................................................... 1

Facts ................................................................................................................................................ 2

           A.          Congressional Authorization for SSP Funding ........................................................3

           B.          The City’s Awarded SSP Grants..............................................................................3

           C.          Information Provided to FEMA by the City ............................................................4

           D.          Defendants’ Money Grab .........................................................................................5

           E.          Defendants’ Statements About the Money Grab .....................................................5

           G.          �e “Noncompliance” Letter ...................................................................................8

           H.          Harm to the City.......................................................................................................9

Argument ...................................................................................................................................... 10

           A.          This Court Should Preliminarily Enjoin Defendants and Grant a Temporary
                       Restraining Order Directing Defendants to Restore the Funds and Enjoining
                       Them From Taking Back City Funds in the Future ...............................................10

           B.          Plaintiff has a Clear and Substantial Likelihood of Success on the Merits ...........11

           C.          The City Will Suffer Irreparable Harm in the Absence of Injunctive Relief.........19

           D.          The Public Interest and the Equities Strongly Favor the City ...............................21

Conclusion .................................................................................................................................... 22

Certificate of Compliance with Local Rule .................................................................................. 24




                                                                          ii
          Case 1:25-cv-01510-JHR                       Document 10               Filed 02/21/25              Page 3 of 29




                                                TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

AFA Dispensing Group B.V. v. Anheuser-Busch, Inc.,
  740 F. Supp. 2d 465 (S.D.N.Y. 2010)......................................................................................11

Bowen v. Georgetown Univ. Hosp.,
   488 U.S. 204 (1988) .................................................................................................................14

City of Houston v. Dep’t of Hous. & Urban Dev.,
    24 F.3d 1421 (D.C. Cir. 1994) .................................................................................................19

Cty. of Nassau v. Leavitt,
   No. 07-816, 2009 U.S. Dist. LEXIS 142104 (E.D.N.Y. Mar. 31, 2009) .................................19

Cty. of Suffolk v. Sebelius,
   605 F.3d 135 (2d Cir. 2020).....................................................................................................19

Dep’t of Commerce v. New York,
   588 U.S. 752 (2019) .................................................................................................................12

Dep't of Homeland Sec. v. Regents of the Univ. of Cal.,
   591 U.S. 1 (2020) .....................................................................................................................22

FCC v. Prometheus Radio Project,
  592 U.S. 414 (2021) .................................................................................................................12

Jacksonville Port Auth. v. Adams,
   556 F.2d 52 (D.C. Cir. 1977) .............................................................................................20, 21

Jones v. Wolf,
   467 F. Supp. 3d 74 (W.D.N.Y. 2020) ......................................................................................20

Landgraf v. USI Film Prods.,
   511 U.S. 244 (1994) .................................................................................................................14

League of Women Voters of U.S. v. Newby,
   838 F.3d 1 (D.C. Cir. 2016) .....................................................................................................21

Libertarian Party v. Lamont,
   977 F.3d 173 (2d Cir. 2020).....................................................................................................11

Loper Bright Enterprises v. Raimondo,
   603 U.S. 369 (2024) .................................................................................................................14


                                                                    iii
          Case 1:25-cv-01510-JHR                       Document 10               Filed 02/21/25              Page 4 of 29




Mastrovincenzo v. City of New York,
  435 F.3d 78 (2d Cir. 2006).......................................................................................................11

Motor Vehicle Mfrs. Ass’n of the U.S. v. State Farm Mut. Auto. Ins. Co.,
   463 U.S. 29 (1983) ...................................................................................................................12

Nat’l Fed’n of Indep. Bus. v. Sebelius,
   567 U.S. 519 (2012) .................................................................................................................17

New York v. Trump,
   No. 25-cv-39-JJM-PAS, 2025 U.S. Dist. LEXIS 17593 (D.R.I. Jan. 31, 2025)..................9, 14

New York v. U.S. Dep’t of Homeland Sec.,
   969 F. 3d 42 (2d Cir. 2020)..........................................................................................11, 18, 21

Nken v. Holder,
   556 U.S. 418 (2009) .................................................................................................................11

Office of Pers. Mgmt. v. Richmond,
    496 U.S. 414 (1990) .................................................................................................................20

Pennhurst State Sch. & Hosp. v. Halderman,
   451 U.S. 1 (1981) .....................................................................................................................17

Pharaohs GC, Inc. v. U.S. SBA,
   990 F.3d 217 (2d Cir. 2021).....................................................................................................11

Rochester Pure Waters Dist. v. EPA,
   960 F.2d 280 (D.C. Cir. 1992) ...........................................................................................19, 20

Tom Doherty Assocs. v. Saban Entm't, Inc.,
   60 F.3d 27 (2d Cir. 1995).........................................................................................................11

Train v. City of New York,
   420 U.S. 35 (1975) ...................................................................................................................16

Trump v. Int’l Refugee Assistance Project,
   137 S. Ct. 2080 (2017) .............................................................................................................21

Trump v. U.S.,
   603 U.S. 593 (2024) .................................................................................................................16

West Virginia v. EPA,
   597 U.S. 697 (2022) .................................................................................................................16

Winter v. NRDC, Inc.,
   555 U.S. 7 (2008) ...............................................................................................................11, 18


                                                                    iv
          Case 1:25-cv-01510-JHR                         Document 10                Filed 02/21/25               Page 5 of 29




Youngstown Sheet & Tube Co. v. Sawyer,
   343 U.S. 579 (1952) (Jackson, J., concurring).........................................................................16

Statutes

5 U.S.C. § 702 ................................................................................................................................18

5 U.S.C. § 706 ................................................................................................................1, 12, 14, 15

Administrative Procedure Act, 5 U.S.C. § 701 et seq....................................................................11

Department of Homeland Security Appropriations Act, 2023, Pub. L. No. 117-
   328, 136 Stat. 4730 (2022).........................................................................................................3

Department of Homeland Security Appropriations Act, 2024, Pub. L. No. 118-47,
   138 Stat. 598 (2024).................................................................................................3, 15, 16, 17

Other Authorities

2 C.F.R § 200.100 et seq. ...............................................................................................7, 14, 15, 17

2 C.F.R. § 200.208 .........................................................................................................................15

2 C.F.R. § 200.339 .........................................................................................................................15

2 C.F.R. § 200.342 .........................................................................................................................15

2 C.F.R. § 200.345 .........................................................................................................................15

U.S. Const. Art. I, Sec. 1 ................................................................................................................16

U.S. Const. Art. I, Sec. 8, clause 1 .................................................................................................17




                                                                       v
       Case 1:25-cv-01510-JHR           Document 10        Filed 02/21/25      Page 6 of 29




                                PRELIMINARY STATEMENT

       On February 11, 2025, Defendants removed over $80 million in grant funds from the City

of New York’s (“City”) bank account without any notice whatsoever. �ose funds were

reimbursement for expenditures the City incurred, under the Federal Emergency Management

Agency’s (“FEMA”) Shelter and Services Program (“SSP”), to provide shelter and other services

to non-citizens that the United States Department of Homeland Security (“DHS”) released from

detention and into the community. Moreover, FEMA awarded and paid the funds in accordance

with Congressional authorization, whose purpose was to allow DHS to reduce crowding in its

detention facilities by providing ﬁnancial support to border communities that provided services

to migrants, including cities in Texas and Arizona, and other locales that experienced large

inﬂuxes of migrants, including the City. In sum, without any authority, Defendants deprived the

City of funds to which it was in every respect entitled.

       �is money grab was a lawless agency action that failed to comply in any respect with the

procedural and substantive requirements of the Administrative Procedure Act, 5 U.S.C. § 706. It

is the very deﬁnition of government action that is arbitrary and capricious, an abuse of discretion,

and contrary to law. Defendants acted in excess of any plausible statutory authority and indeed in

violation of due process, the separation of powers doctrine, and the Spending Clause. �ey acted

as if they were not governmental actors at all.

       A preliminary injunction and temporary restraining order are thus essential—and amply

warranted—to direct Defendants to return the money and to prevent them taking the same lawless

action again. �e grab-back is causing the City immediate and irreparable harm, in the loss of

over $80 million in funds appropriated by Congress and approved for the City’s use by FEMA.

If the funds are not promptly restored to the City, they may well be unrecoverable at all because


                                                  1
       Case 1:25-cv-01510-JHR           Document 10        Filed 02/21/25      Page 7 of 29




they cannot be recovered in an action for compensatory money damages and the appropriated

funds—the only source for recovery—may be exhausted, rescinded, or lapse before this action is

determined. �e balance of the equities weighs overwhelmingly in Plaintiﬀ’s favor: the City has

a clear and substantial likelihood of success on the merits of its claims, and, without a mandatory

preliminary injunction requiring the return of the money, it faces the prospect of having no

available mechanism to recoup the funds. In the event Defendants are successful in their defense

of this action, on the other hand, they will be able to recover the funds from the City.

       An injunction also serves the public interest. Congress speciﬁcally appropriated funds to

FEMA to relieve overcrowding at the border and this is exactly what the FEMA funds provided

to the City were intended to do; they enabled the City to provide shelter and services to migrants

released by DHS, who made their way to the City. �ese grant funds were also paid after FEMA

had approved the City’s intended use of the funds and the actual documented expenditures. While

the City is acting in the public interest, Defendants most deﬁnitively are not—in grabbing back

these allocated and approved funds, they are intentionally thwarting Congress’s intent.

       Plaintiﬀ thus respectfully requests that this Court schedule a hearing on this matter as soon

as counsel may be heard and that pursuant to Federal Rule of Civil Procedure 65, grant the City

a preliminary injunction pending the determination of the merits of this action and for the issuance

of a temporary restraining order pending the hearing on the motion, ordering Defendants to

reverse their removal of over $80 million from the City’s bank account and enjoining Defendants

from taking any further grant money from the City’s bank account.


                                              FACTS

       �e relevant facts are set forth in the accompanying Declaration of Jacques Jiha, Director

of the New York City Oﬃce of Management and Budget (“City OMB”), dated Feb. 21, 2025


                                                 2
       Case 1:25-cv-01510-JHR          Document 10        Filed 02/21/25      Page 8 of 29




(“Jiha Decl.”) and Declaration of Joshua Rubin, dated Feb. 20, 2025 (“Rubin Decl.”) and are

summarized below.

   A. Congressional Authorization for SSP Funding

       In 2023, Congress authorized FEMA and U.S. Customs and Border Protection (“CBP”)

to establish SSP. Department of Homeland Security Appropriations Act, 2023, Pub. L. No. 117-

328, Title II, 136 Stat. 4730 (2022). Congress authorized continued funding for the program in

2024 of $650,000,000 through the Department of Homeland Security Appropriations Act (the

“DHS Appropriations Act”). DHS Appropriations Act, Pub. L. No. 118-47, 138 Stat. 598 (2024)

�e stated purpose of SSP is “to support sheltering and related activities provided by non-Federal

entities, in support of relieving overcrowding in short-term holding facilities of U.S. Customs and

Border Protection.” Id. To that end, the program reimburses non-federal entities providing shelter

and related activities to noncitizen migrants following their release from DHS. Id.

   B. The City’s Awarded SSP Grants

       On June 12, 2023, FEMA issued a Notice of Funding Opportunity (“NOFO”) for SSP

funding for Fiscal Year 2023 (the “SSP23 NOFO”). Jiha Decl. ¶ 6. FEMA awarded the City $106.9

million under this grant and to date, the City has received $70.6 million in reimbursement from

FEMA under this grant and may seek $36.3 million more. Id. ¶ 18; see also id., Exs. 4 (FY23 SSP

Award Letter) & 5 (FY23 SSP Award Letter Amendment).

       On April 12, 2024, FEMA issued two NOFOs for localities to apply for SSP funding for

Fiscal Year 2024, an an allocation grant (the “SSP-A NOFO”) and a competitive grant (the “SSP-

C NOFO”). See id. ¶ 8. FEMA awarded the City a total of $ 81,471,963.07. For the SSP-A grant,

the City was awarded $59,302,125.07 and for the SSP-C grant, the City was awarded $22,269,838.

Id. ¶¶ 29-30; see also id., Exs. 10 (SSP-A Award Notice) & Ex. 13 (SSP-C Award Notice). On




                                                 3
       Case 1:25-cv-01510-JHR          Document 10        Filed 02/21/25      Page 9 of 29




February 4, 2025, the City received payments under both grants for a total of approximately $80.4

million, leaving approximately $1 million from which the City may seek additional

reimbursements. Id. ¶ 38.

   C. Information Provided to FEMA by the City

       In connection with its SSP grant applications, the City through its Oﬃce of Management

and Budget (“OMB”) submitted documentation including a budget specifying the costs for which

the City would seek reimbursement under the grants. �ese costs encompassed lodging, meals,

medical costs, case coordination, and security. Id. ¶¶ 18, 20-26. �e City speciﬁed the rate of

reimbursement sought for each cost, including $62.19 per person per night for lodging at hotels

under the SSP24 grant. Id. ¶ 25. �e City also speciﬁed the number of noncitizen migrants it

anticipated serving and identiﬁed each hotel, motel, and facility that the City intended to use,

including a location called the Roosevelt Hotel. Id. ¶ 26. FEMA approved the budget.

       In September 2024 FEMA conducted a joint ﬁnancial and programming site visit. Jiha

Decl. ¶ 21-22. As part of the visit, oﬃcials from FEMA and the CBP toured the Roosevelt Hotel

and another facility. FEMA oﬃcials also visited the Roosevelt Hotel on September 26, 2024. Id.

�e site visits did not produce any objection to the City’s use of the hotel. Id.

       In requesting reimbursement under the SSP grants, City OMB provided FEMA with even

more documentation, including a detailed cost summary, proof of expenditures including invoices

and proofs of payment, and the names, A-Numbers, and DHS release dates for the individuals for

whom the City provided shelter and services. Id. ¶ 15, 35

       FEMA’s decision to award funding to the City and its subsequent payments—made

following its review of the City’s detailed submissions—constituted a determination that the costs,

the City incurred in providing shelter and services to noncitizen migrants released by DHS were




                                                 4
      Case 1:25-cv-01510-JHR          Document 10        Filed 02/21/25     Page 10 of 29




indeed eligible for reimbursement.

   D. Defendants’ Money Grab

       On Wednesday, February 12, 2025, City OMB learned from the City’s Department of

Finance that at 4:03 pm on February 11, 2025, $80,481,861.42 had been removed from the City’s

central treasury account where the SSP funds had been deposited on February 4, 2025. Id. ¶ 41.

�e amount removed constitutes the entire amount that FEMA had approved for reimbursement

and disbursed to the City for the SSP-A and SSP-C grants combined. Id. ¶ 42. Prior to removing

the funds, FEMA did not follow any of the requirements in the NOFOs or the regulations set forth

in 2 C.F.R 200.100 et seq., which are incorporated into the grant documents by reference. See Jiha

Decl. Ex. 2 (SSP-A NOFO) at 50; id., Ex. 3 (SSP-C NOFO) at 45. �ose requirements not only

include providing notice but an opportunity to object. See e.g. 2 C.F.R. §§ 200.208 (d); 200.342.

   E. Defendants’ Statements About the Money Grab

       Outside the grant administration process, however, Elon Musk (“Musk”), who is

purportedly leading the Department of Government Eﬃciency (“DOGE”), Defendant Kristi

Noem, the Secretary of the Department of Homeland Security, and Defendant Cameron Hamilton,

the Senior Oﬃcial Performing the Duties of the FEMA Administrator (“Administrator Hamilton”),

made public statements opposing the SSP and touting the money grab.

       On February 10, 2025, both Musk and Administrator Hamilton posted messages on the

social media platform “X” stating that there would be a “clawback demand” for the City’s SSP

funds because the funds were used to provide shelter for “illegal migrants” at “high end hotels”

“in violat[ion] of the law.” Rubin Decl. ¶¶ 6-7. All of these assertions were unsupported. As noted

above, supra Parts A-D, the City’s SSP funds were used to shelter non-citizen migrants released

into the community by DHS. FEMA had approved the per diem rates in advance of the City seeking




                                                5
      Case 1:25-cv-01510-JHR           Document 10       Filed 02/21/25        Page 11 of 29




reimbursement. And FEMA awarded the money to the City in accordance with the authority given

to it by Congress to provide funds to “non-federal” entities as part of SSP.

       Administrator Hamilton acknowledged as much in a subsequent “X” post, stating that

“Congress should never have passed bills asking FEMA to do this work. �is stops now.” Id. ¶ 8.

But he oﬀered no basis on which FEMA could refuse to abide by Congress’s legislation creating

the grant program and appropriating funds for it—let alone on what basis FEMA could simply

grab funds out of the City’s bank account, without any process or ﬁndings, where FEMA had

previously paid those amounts to the City after it reviewed and approved the City’s expenditures

for reimbursement.

   F. FEMA “Pause[s]” SSP without Lawful Basis, but Claims in Federal Court Filings to
      Be Following “Applicable” Laws and Procedures

       Defendants openly articulated their hostility to SSP, their unwillingness to administer the

program, and their intention to take back the SSP funding. However, Defendants are subject to a

temporary restraining order ordering them not to “pause, freeze, impede, block, cancel, or

terminate Defendants’ compliance with awards and obligations to provide federal ﬁnancial

assistance …except on the basis of the applicable authorizing statutes, regulations, and terms” and

to “comply with all notice and procedural requirements in the award, agreement, or other

instrument relating to decisions to stop, delay, or otherwise withhold federal ﬁnancial assistance

programs.” New York v. Trump, No. 25-cv-39-JJM-PAS, 2025 U.S. Dist. LEXIS 17593 (D.R.I. Jan.

31, 2025) , ECF No. 50 (the “TRO”). �at TRO was entered in a case ﬁled by 22 states (including

New York) seeking to temporarily restrain and enjoin the across-the-board pause on federal

funding disbursement implemented by the Trump administration. See generally New York v.

Trump, No. 25-cv-39-JJM-PAS (D.R.I. ﬁled Jan. 28, 2025) (hereinafter “New York v. Trump”).

       On the evening of February 11, 2025, just hours after the money grab, several Defendants



                                                 6
      Case 1:25-cv-01510-JHR           Document 10        Filed 02/21/25       Page 12 of 29




here ﬁled an “Emergency Motion . . . for Permission to Continue Withholding FEMA and Other

Funding” in New York v. Trump,. See Rubin Decl., Ex. C (“Emergency Mot.”). �e emergency

motion purported to seek conﬁrmation that a “withholding” of FEMA funding to the City did not

violate the TRO. Without mentioning that FEMA had already taken SSP funds from the City, the

emergency motion stated that “FEMA seeks to withhold Shelter and Services Program (SSP)

funding based on concerns regarding the program” and “respectfully requests conﬁrmation that

Defendants may permissibly withhold certain FEMA funding, i.e., as ‘a speciﬁc instance where

they are acting in compliance with this Order but otherwise withholding funds due to speciﬁc

authority.’” Rubin Decl., Ex. C at 2-3 (emphasis added).

       In his accompanying declaration, Administrator Hamilton omitted any mention of the

money-grab and stated that the SSP funds were being “paused” because Defendants believed—

based on media reports from October and November 2024 describing alleged illegal acts by people

staying at hotels, in particular the Roosevelt Hotel—that the funds were being used for “illegal”

activity. Declaration of Cameron Hamilton (“Hamilton Decl.”) ¶ 11, New York v. Trump, No. 1:25-

cv-00039 (D.R.I. Feb. 11, 2025), ECF No. 102-1. �e Hamilton Declaration did not disclose that

FEMA oﬃcials twice visited that the Roosevelt in September 2024 nor that the media articles cited

in the declaration pre-dated FEMA’s approval of the City’s SSP grants. �e Hamilton Declaration

did not identify any activity by the City that was inconsistent with the terms of the SSP or unlawful,

except for vague allegations of encouraging aliens to reside in the U.S., transporting illegal aliens,

harboring, or aiding and abetting. Id. ¶ 10. Since all the migrants for whom FEMA reimbursed the

City were released into the community by DHS with an A-number and the reimbursement was for

the express purpose of relieving DHS of the burden of maintaining these individuals in DHS

custody, these assertions are without merit.




                                                  7
        Case 1:25-cv-01510-JHR       Document 10        Filed 02/21/25     Page 13 of 29




        �e Hamilton Declaration also cited news articles concerning misuses of funds by non-

governmental organizations (“NGOs”), id. ¶ 10, and attached a January 28, 2025 Memorandum

for Component and Oﬃce Heads from DHS Secretary Kristi Noem concerning funding for NGOs

and directing that “all Department grant disbursements . . . that . . . touch in any way on

immigration, are on hold pending review,” including “the Shelter and Services Program, and any

similar program.” Rubin Decl., Ex. E. None of the material cited reported misuse of funds by the

City.

        The day after the filing of the Emergency Motion, on February 12, 2025, at 1:37 pm,

Defendant DHS Secretary Kristi Noem repeated the statements in the Hamilton Declaration, that

persons residing in hotels the City used to temporarily shelter non-citizen migrants committed

crimes and that approved SSP funds were grabbed back from “NYC migrant hotels.” Rubin Decl.

¶ 16.

   G. �e “Noncompliance” Letter

            More than a week after the money grab, Defendants began to manufacture a veneer of

the procedural compliance that Administrator Hamilton had represented in court ﬁlings they were

following. On February 19, 2025, City OMB, received a letter, dated February 18, 2025, from

FEMA Administrator Hamilton with the subject-line “Remedy for Noncompliance Letter, Shelter

and Services Program (SSP).” Jiha Decl., Ex. 20. �e letter referenced both the SSP23 and the

SSP24 grants, appearing to indicate that it was about SSP grants the City received for both years.

In the letter, Administrator Hamilton purports to “notify [City OMB] that DHS/FEMA is

temporarily withholding payments to [City OMB].” Id. at 1. �e letter admits that FEMA grabbed

back the SSP24 grant awards paid to the City, stating that FEMA “recovered two payments




                                               8
        Case 1:25-cv-01510-JHR          Document 10         Filed 02/21/25       Page 14 of 29




completed via direct deposit on February 4, 2025, totaling $80,481,861.42.” Id. �e letter claims

that the money grab “constitutes a part of this temporary withholding.” Id.

             �e letter states that DHS “has signiﬁcant concerns that SSP funding is going to

entities engaged in or facilitating illegal activities.” Id. But it does not allege any purported illegal

activities committed by any entity that might have been paid with funds for which the City

obtained reimbursement. Instead, the letter alleges—citing and exaggerating the same media

reports that defendant Hamilton cited in his declaration a week earlier—“[f]or example, a

substantial portion of your award goes to funding alien housing at the Roosevelt Hotel in New

York City.” Id.

             �e “noncompliance” letter goes on to allege:

            According to media reports, the vicious Venezuelan gang Tren De Aragua has
            taken over the hotel and is using it as a recruiting center and base of operations
            to plan a variety of crimes.1 According to these same reports, these crimes
            include gun and drug sales as well as sex trafficking, which can reasonably be
            presumed to be conducted in the hotel itself.

Id.

             �e letter also expresses “concern” that

            entities receiving payment under this program may be guilty of encouraging or
            inducing an alien to come to, enter, or reside in the United States in violation of
            law, 8 U.S.C. § 1324(a)(1)(A)(iv); transporting or moving illegal aliens, id. §
            1324(a)(1)(A)(ii); harboring, concealing, or shielding from detection illegal
            aliens, id. § 1324(a)(1)(A)(iii); or applicable conspiracy, aiding or abetting, or
            attempt liability respecting these statutes.

Id. Defendants have not oﬀered any other basis for the money-grab.

      H. Harm to the City

         �e over $80 million grabbed back by Defendants is reimbursement for amounts that the

City already expended in reliance on the SSP’s terms, and that FEMA awarded, reviewed in detail,



                                                   9
      Case 1:25-cv-01510-JHR           Document 10        Filed 02/21/25      Page 15 of 29




approved for payment, and paid to the City. Because of Defendants’ money grab, the City is at risk

of losing this funding permanently even if it prevails in this lawsuit. SSP funds could become

unavailable to the City during the time it takes to decide this lawsuit, if the SSP appropriation is

fully obligated (i.e. the City’s funds are redistributed to other recipients) and thus exhausted; the

appropriation expires; or if the appropriation is rescinded by Congress. Defendants have articulated

their hostility to SSP and their desire to stop disbursing SSP funds, even if disbursement is

consistent with Congressional purpose. �e City, even if ultimately successful here, risks a

permanent loss of these funds because of Defendants’ $80 million money grab. In addition, given

that the noncompliance letter references the SSP23 grant funds for which the City was previously

reimbursed, Defendants may attempt to unlawfully execute another money grab for the SSP23

funds. Hence the City seeks an injunction to require the repayment of the $80 million in SSP24

funds and an injunction to prevent Defendants from another money grab of the SSP23 funds.


                                          ARGUMENT

   A. This Court Should Preliminarily Enjoin Defendants and Grant a Temporary
      Restraining Order Directing Defendants to Restore the Funds and Enjoining Them
      From Taking Back City Funds in the Future

       To obtain a preliminary injunction, the movant must demonstrate (1) a likelihood of

success on the merits; (2) that the movant will suﬀer irreparable harm in the absence of

preliminary injunctive relief; (3) a balance of the equities in the movant’s favor; and (4) a public

interest served by issuance of a preliminary injunction. Winter v. NRDC, Inc., 555 U.S. 7, 20

(2008); New York v. U.S. Dep’t of Homeland Sec., 969 F. 3d 42, 58-59 (2d Cir. 2020). �e ﬁnal

two factors—the balance of equities and the public interest—“merge when the Government is the

opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009). Where, as here, the court is asked to

enter a mandatory preliminary injunction against the government—commanding a positive act,


                                                 10
       Case 1:25-cv-01510-JHR          Document 10         Filed 02/21/25      Page 16 of 29




rather than seeking to maintain the status quo—the ﬁrst prong of the test for injunctive relief is

more exacting, requiring a showing of a ‘clear’ or ‘substantial’ likelihood of success on the merits.

Pharaohs GC, Inc. v. U.S. SBA, 990 F.3d 217, 225 (2d Cir. 2021); Libertarian Party v. Lamont,

977 F.3d 173, 176-77 (2d Cir. 2020); Mastrovincenzo v. City of New York, 435 F.3d 78, 89 (2d

Cir. 2006). 1

        �e standards for granting a temporary restraining order are the same as those governing

preliminary injunctions. AFA Dispensing Group B.V. v. Anheuser-Busch, Inc., 740 F. Supp. 2d

465 (S.D.N.Y. 2010).

    B. Plaintiff has a Clear and Substantial Likelihood of Success on the Merits

        In grabbing back funds that were used for the purposes Congress intended and that were

reviewed, analyzed and determine allowable by FEMA, without providing notice or an

opportunity to be heard, Defendants thumb their nose entirely at the most basic requirements for

agency action under the Administrative Procedure Act, 5 U.S.C. § 701 et seq. (“APA”). �e action

must be set aside as unlawful because it was plainly arbitrary and capricious and contrary to law,

in violation of 5 U.S.C. § 706(2)(A). Further, it was in excess of Defendants’ statutory authority

and ultra vires. It was done without complying with any of the procedures set out in the governing

grant regulations and terms and conditions. Id. §§ 706(A), (B), (C). Defendants grabbed back

SSP funds that were used for their intended purposes because Defendants wished to thwart the

Congressional purpose of the program. In doing so, Defendants violated the Separation of Powers


1
 �is same stringent test also applies where the requested injunction would provide the plaintiﬀ
with "all the relief that is sought,” and where the mandated action could not be undone by a
judgment for defendant on the merits and would eﬀectively irreversibly aﬀect the rights of the
parties. Lamont, 977 F.3d at 177; Mastrovincenzo, 435 F.3d at 90; Tom Doherty Assocs. v. Saban
Entm’t, Inc., 60 F.3d 27, 33–34 (2d Cir. 1995). �e mandatory relief the City seeks would not
have that eﬀect because the City seeks additional relief in the Complaint, i.e. to enjoin the
“pause” of its SSP funding, and in the event Defendants ultimately prevail they could seek
recovery of any portion of the SSP grant through lawful means.


                                                 11
      Case 1:25-cv-01510-JHR           Document 10       Filed 02/21/25      Page 17 of 29




of the United States Constitution. And, by imposing new, retroactive grant conditions, Defendants

violated the Spending Clause. �e Court should exercise its equitable power to enjoin federal

oﬃcials who act far, far beyond the limitations imposed by federal law and the United States

Constitution.

       1. Arbitrary and Capricious and Abuse of Discretion. An agency action is arbitrary and

capricious when it is not “reasonable and reasonably explained.” FCC v. Prometheus Radio

Project, 592 U.S. 414, 423 (2021). �e explanation must show “a rational connection between

the facts found and the choice made.” Motor Vehicle Mfrs. Ass’n of the U.S. v. State Farm Mut.

Auto. Ins. Co., 463 U.S. 29, 43 (1983) (internal citation omitted). �e purpose of this requirement

is to ensure that agencies “oﬀer genuine justiﬁcations for important decisions, reasons that can

be scrutinized by courts and the interested public.” Dep’t of Commerce v. New York, 588 U.S.

752, 758 (2019). Moreover, “an agency’s action must be upheld, if at all, on the basis articulated

by the agency itself.” Motor Vehicle Mfrs. Ass’n, 463 U.S. at 43, 50.

       Defendants have oﬀered no “genuine,” “reasonable and reasonably explained”

justiﬁcation for their actions. Instead, federal oﬃcials have made various sensational and

inaccurate statements on social media, in press releases, and in a lawsuit to which the City is not

a party. See supra, describing statements by Elon Musk and defendant Hamilton (a “clawback

demand” is required because SSP funds were “used to provide shelter for “illegal migrants” at

“high end hotels” “in violat[ion] of the law”); the Hamilton Declaration (SSP funds must be

paused because noncitizen migrants released by DHS committed crimes at hotel FEMA approved

for lodging); and statements by Secretary Noem (“I have clawed back the full payment” to the

City because noncitizen migrants released by DHS committed crimes at hotel FEMA approved

for lodging). �e FEMA “noncompliance” letter repeated some of the same unsupported




                                                12
      Case 1:25-cv-01510-JHR           Document 10        Filed 02/21/25      Page 18 of 29




assertions and is no more solid than Defendants’ previous public statements. None of these

statements provide a legitimate basis for the money-grab, and most amount to no more than wildly

inaccurate, ad hoc and/or post-hoc rationalizations,

       FEMA’s assertion in the “noncompliance letter” that the money-grab is justiﬁed by media

reports of alleged criminal activity at a hotel that FEMA approved for lodging is particularly

confounding because the media reports cited in the letter, from October and November 2024, pre-

date FEMA’s decision to approve and disburse the City’s SSP funds on February 4, 2025; FEMA

toured the hotel in question twice and did not report to the City any concerns about criminal

activity, see Jiha Decl. ¶ 22; and no grant conditions or requirements are implicated by FEMA’s

supposed concern.     To the extent the “noncompliance” letter raises vague allegations of

encouraging aliens to reside in the United States, transporting illegal aliens, harboring, or aiding

and abetting, these assertions are unsupported: all of the migrants for whom FEMA reimbursed

the City were processed and released into the United States by DHS, not the City, and the City

has provided FEMA with all the required information about them under the SSP grant terms,

including their names and A-Numbers.

       To the extent Defendants’ reason for the money-grab is their opposition to any spending

under the SSP, as demonstrated in statements by defendant Hamilton in his tweets (“Congress

should never have passed bills asking FEMA to do this work. �is stops now”) and defendant

Noem (“all Department grant disbursements [to NGOs] . . . that . . . touch in any way on

immigration, are on hold pending review,” including SSP) that is a matter to take up with

Congress, which authorized the spending, and is not a basis to take back duly approved SSP

disbursements.

       By no standard can any of Defendants’ rationalizations be construed as a reasoned



                                                 13
      Case 1:25-cv-01510-JHR           Document 10         Filed 02/21/25      Page 19 of 29




explanation for taking back $80 million in FEMA grants from the City. Indeed, the money-grab

disregarded FEMA’s own review and approval of the City’s grant, including its review of the

grant application and budget, which speciﬁed how and for whom the grant would be used and the

hotels the City would use to provide shelter and the subsequent documentation submitted by the

City, which reﬂected actual expenditures and identiﬁed the names, A-numbers, and DHS release

dates of the persons served.

       �e grab-back was entirely arbitrary and capricious and, to the extent Defendants had any

discretion to exercise in grabbing grant funds, it was a serious abuse of discretion.

       2. Contrary to Law. Defendants have no legal authority to grab back SSP funds from the

City. Agency action that is contrary to “constitutional right, power, privilege, or immunity” or “in

excess of statutory jurisdiction, authority, or limitations, or short of statutory right” is unlawful

and must be set aside. 5 U.S.C. § 706(B)-(C). Agency interpretations of statutes or the

Constitution are not entitled to deference. Loper Bright Enterprises v. Raimondo, 603 U.S. 369,

391 (2024) (quoting U.S. v. Morton Salt, 338 U.S. 632, 644 (1950)).

       Congress has not delegated any authority to Defendants grab back, SSP funds that were

duly approved and disbursed by the grantmaking agency in accordance with the requirements of

the program. Indeed, Defendants are enjoined by TRO from withholding grant funds, including

SSP grant funds, unless they follow the speciﬁc requirements of the grant. New York v. Trump,

2025 U.S. Dist. LEXIS 17593, at *9. Defendants have acknowledged this in their ﬁlings in New

York v. Trump. See generally Rubin Decl., Ex. C (“Emergency Mot.”). But, neither the SSP grant

Awards, the NOFOs, nor the federal regulations applicable to the grant (2 C.F.R. §§ 200.100 et

seq.,) permit Defendants to grab-back disbursed grant funds by reaching into the City’s bank

account and taking them.




                                                 14
      Case 1:25-cv-01510-JHR          Document 10        Filed 02/21/25     Page 20 of 29




       To the extent the money grab was based on Defendants’ professed opposition to the SSP

program itself, as articulated by Administrator Hamilton in his tweets (“Congress should never

have passed bills asking FEMA to do this work. �is stops now.”) and DHS Secretary Noem in

her memo (“all Department grant disbursements [to NGOs] . . . that . . . touch in any way on

immigration, are on hold pending review,” including SSP), the money grab not only lacked

statutory authority, it is a disfavored retroactive action that impaired rights the City possessed

with respect to the SSP grants. Bowen v. Georgetown Univ. Hosp., 488 U.S. 204, 208 (1988);

Landgraf v. USI Film Prods., 511 U.S. 244 (1994). �e City applied for and was granted the SSP

funding to provide shelter and other services to noncitizens encountered and released by DHS

into the community under a clear set of requirements and procedures, with which it has complied.

       No statute gives Defendants the authority to retroactively reverse grants based on a new

policy preference or outside of the prescribed processes for recovering grant funds.

       3. Procedural Violations and Due Process. �e FEMA money grab was lawless agency

action, implemented without any adherence to “procedure required by law.” 5 U.S.C.

§ 706(2)(D). �ere is no “procedure” under applicable law—not the DHS Appropriations Act, the

SSP Award Letters, the NOFOs, nor 2 C.F.R. 200.100 et seq.—that would enable Defendants to

reach in to the City’s bank account and take funds that were already approved and disbursed by

FEMA to the City pursuant to and in accordance with the SSP grants’ terms and conditions,

without any notice or opportunity to contest the action. Defendants simply did it.

       �e February 19, 2025 “noncompliance” letter was not the required notice, with

opportunity to contest; it was a pretextual attempt to salvage Defendants’ lawless action. Not

only did the letter fail to identify any actual “noncompliance,” or even any genuine concerns of

noncompliance, see supra, it also failed to cite any authority that would permit a money grab




                                                15
      Case 1:25-cv-01510-JHR            Document 10        Filed 02/21/25      Page 21 of 29




like this. Instead, the letter falsely characterized the grab-back of $80 million as a “withholding”

of funds and cited various provisions of the Code of Federal Regulations that permit temporary

withholdings and suspensions of funding. See Jiha Decl., Ex. 20 (Noncompliance Letter) at 1,

citing 2 C.F.R. 2 C.F.R. §§ 200.208, 200.339(a), 200§ 200.342. But, a grab-back of funding that

has already been approved and disbursed into a grantees bank account is not the same as

withholding funds that have not yet been approved and disbursed. And Defendants cite no

authority at all to justify their money-grab.

       Defendants eschewed the use of any lawful procedures and took over $80 million from

the City without warning, in violation of the procedural requirements of the APA. For the same

reasons the Defendants’ conduct violated the APA, it also violates the Due Process Clause of the

United States Constitution.

       4. Separation of Powers. Defendants are not authorized to grab back SSP funds from the

City simply because they disagree with the goals of the program. �is violates the Separation of

Powers doctrine and runs roughshod over the authority of Congress.

       Article I, Section 1 of the Constitution enumerates that: “[a]ll legislative Powers herein

granted shall be vested in a Congress of the United States, which shall consist of a Senate and a

House of Representatives.” U.S. Const. Art. I, Sec. 1. �e Constitution exclusively grants the

power of the purse to Congress, not the President, with the executive branch possessing only such

authority in relation to Federal funding that Congress has chosen to give it. �e separation of

powers doctrine represents perhaps the central tenet of our constitution, see, e.g., Trump v. U.S.,

603 U.S. 593, 637-38 (2024); West Virginia v. EPA, 597 U.S. 697, 723-24 (2022), and consistent

with these principles, the executive acts at the lowest ebb of his constitutional authority and power

when he acts contrary to the express or implied will of Congress. Youngstown Sheet & Tube Co.




                                                 16
      Case 1:25-cv-01510-JHR           Document 10       Filed 02/21/25      Page 22 of 29




v. Sawyer, 343 U.S. 579, 637 (1952) (Jackson, J., concurring).

        Defendants have expressed hostility to the SSP and openly acknowledged that they do not

see Congressional authorization of SSP as a barrier to stopping payments under the grant. FEMA

Acting Administrator Hamilton posted: “Congress should never have passed bills asking FEMA

to do this work. �is stops now.” Defendant Noem similarly directed DHS to “pause” all funding

for NGOs through the SSP. Rubin Decl. Ex. E. Defendants have no authority to ignore and

disregard Congressional enactments, including the DHS Appropriations Act, but in grabbing back

$80 million in funding from the City that was disbursed for the purposes speciﬁed by Congress,

and in accordance with all applicable grant requirements, laws, and regulations, Defendants are

doing just that.

        5. Spending Clause. Defendants cannot unilaterally change the terms and requirements

of SSP grants in order to grab-back previously approved funding disbursed to the City. �e

Spending Clause of the Constitution provides that Congress—not the Executive—“shall have

Power to lay and collect Taxes, Duties, Imposts and Excises, to pay the Debts and provide for the

common Defence and general Welfare of the United States.” U.S. Const. Art. I, Sec. 8, clause 1.

“Congress’ power to legislate under the spending power is broad,” but conditions on funding must

be “unambiguous[]” and they cannot “surprise[] participating States [or localities] with post

acceptance or ‘retroactive’ conditions.” Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1,

17, 25 (1981). States and localities must have fair notice of conditions on funding and once funds

have been accepted pursuant to a federal spending program, however, the Federal government

cannot alter the conditions attached to those funds so signiﬁcantly as to “accomplish[ ] a shift in

kind, not merely degree.” Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519, 583-84 (2012).

�e Second Circuit has held that advance notice of grant conditions may be provided by the




                                                17
      Case 1:25-cv-01510-JHR           Document 10        Filed 02/21/25      Page 23 of 29




federal grant-making agency, rather than Congress, “as long [as] they were grounded in statutory

provisions, regulations, and other guidelines provided by the Department at the time of the grant.”

New York v. United States DOJ, 951 F.3d 84, 110 (2d Cir. 2020).

       Defendants have articulated various purported reasons for their money grab, see supra,

but none of them explain why they are entitled to grab back $80 million from the City pursuant

to the DHS Appropriations Act, the SSP Award Letters, the NOFOs, or 2 C.F.R. 200.100 et seq.

(Indeed, the City’s use of SSP funds was entirely consistent with each of these.) �e

“noncompliance” letter eﬀectively places additional conditions on the City’s SSP funding, by

manufacturing pretexts—not based on the SSP grant terms and conditions, with which the City

complied—to reverse FEMA’s decision to award and disburse funds to the City. �is violates the

Spending Clause and is unlawful.

       Furthermore, to the extent Defendants are imposing conditions to undermine SSP because

they do not believe the federal government should use its resources to provide services noncitizen

migrants, see infra (statements by Musk and defendant Hamilton concerning “house[ing] illegal

immigrants” and Secretary Noem referring to “NYC migrant hotels”), this also violates the

Spending Clause. Grant conditions must be rationally related to the purpose of the grant. New

York v. United States, 505 U.S. 144, 172 (1992) (citing Mass. v. United States, 435 U.S. 444

(1978)). Here, the purpose of the SSP is to provide reimbursement to the City, among others, for

providing shelter and other services to migrant noncitizens released from detention by DHS, to

relieve DHS the burden of maintaining them. Defendants cannot impose new requirements on

SSP that undermine the grant’s very purpose.

       In sum, the City has a clear, substantial likelihood of success on its claims that the grab-

back was arbitrary and capricious and contrary to law, ultra vires, and in violation of due process,




                                                 18
      Case 1:25-cv-01510-JHR           Document 10        Filed 02/21/25      Page 24 of 29




separation of powers, and Spending Clause strictures.

   C. The City Will Suffer Irreparable Harm in the Absence of Injunctive Relief

       �e City will suﬀer irreparable harm absent injunctive relief. 555 U.S. at 20. Irreparable

harm exists where it involves an “injury that is neither remote nor speculative, but actual and

imminent and that cannot be remedied by an award of monetary damages.” New York v. U.S.

Dep’t of Homeland Sec., 969 F.3d 42, 86 (2d Cir. 2020) (citing New York ex rel. Schneiderman v.

Actavis PLC, 787 F.3d 638, 660 (2d Cir. 2015)).

       �e injury caused by the grab-back here is neither remote, nor speculative. Rather,

Defendants’ surreptitious grab of over $80 million from the City’s bank account constitutes a

clear, signiﬁcant harm: in an instant, without notice, warning, or opportunity to be heard, the City

was deprived of over $80 million in funds that it reasonably and properly relied on as

reimbursement to the City for its own previous expenditures.

       �e injury suﬀered is also, without question, irreparable, because the funds cannot be

recovered in an action for compensatory money damages. �e loss of funding can be remedied

only by an action to restore the funds themselves under the APA. As the Second Circuit has

pointed out, “[B]ecause money damages are prohibited in APA actions, they are irreparable.” U.S.

Dep’t of Homeland Sec., 969 F.3d at 86; see 5 U.S.C. § 702.

       �e unavailability of money damages poses an even more heightened risk where, as here,

the funds were granted under an appropriation that may be exhausted, lapse, or be rescinded

before this action is decided. “Funds appropriated for an agency’s use can become unavailable in

three circumstances: if the appropriation lapses; if the funds have already been awarded to other

recipients; or if Congress rescinds the appropriation.” City of Houston v. Dep’t of Hous. & Urban

Dev., 24 F.3d 1421, 1426 (D.C. Cir. 1994). At any moment, whether through the allocation or




                                                 19
      Case 1:25-cv-01510-JHR           Document 10         Filed 02/21/25      Page 25 of 29




reallocation by FEMA of all of the available appropriated funds (including the seized funds), the

expiration of the Congressional appropriation for the funds, or by virtue of Congressional action

to rescind the appropriation before it expires, the City can be deprived of the ability to obtain any

remedy whatsoever.

       In fact, the very precariousness of litigation concerning Congressionally appropriated

funds creates irreparable harm, leading courts to rule, for example, that “to avoid having its case

mooted [due to the unavailability of a remedy], a plaintiﬀ must both ﬁle its suit before the relevant

appropriation lapses and seek a preliminary injunction preventing the agency from disbursing

those funds.” Id. at 1427 (“[W]hen an appropriation has lapsed or has been fully obligated, federal

courts cannot order the expenditure of funds that were covered by that appropriation.”). �us, the

Second Circuit has held that in order to preserve the funds, the plaintiﬀ must not only seek a

preliminary injunction before the relevant appropriation is exhausted—it must also obtain the

injunction. Cty. of Suﬀolk v. Sebelius, 605 F.3d 135, 142 (2d Cir. 2020); see also Rochester Pure

Waters Dist. v. EPA, 960 F.2d 280 (D.C. Cir. 1992); Cty. of Nassau v. Leavitt, No. 07-816, 2009

U.S. Dist. LEXIS 142104 (E.D.N.Y. Mar. 31, 2009). �e same logic applies here, where the funds

could become unavailable through exhaustion, lapse or recission.

       Injunctive relief is thus required to ensure that there are remedies available to the City in

this litigation and that its ability to be made whole does not disappear while the Court considers

its claims. In order to preserve the availability of remedies here, the over $80 million in grabbed

back funds must be ordered returned to the City’s accounts immediately through mandatory

injunctive relief, before they eﬀectively disappear through the exhaustion of the funds, or the

lapse or rescission of the appropriation by Congress. Once any of those take place, the funds will

be forever lost to the City, unreachable even by this Court. In fact, the court’s failure to preserve




                                                 20
      Case 1:25-cv-01510-JHR            Document 10         Filed 02/21/25      Page 26 of 29




a plaintiﬀ’s rights unequivocally with a TRO, in the face of the potential impossibility of recovery,

constitutes an abuse of discretion. Jacksonville Port Auth. v. Adams, 556 F.2d 52, 57-58 (D.C.

Cir. 1977) (holding that a TRO should have been issued due to the pending expiration of an

agency’s ability to obligate appropriated funds); Rochester, 960 F.2d at 184 (“It is beyond dispute

that a federal court cannot order the obligation of funds for which there is no appropriation. Nor

can it be contended that a court may appropriate funds from which an obligation may be made.”);

Oﬃce of Pers. Mgmt. v. Richmond, 496 U.S. 414, 424 (1990).

        Given that the “noncompliance” letter references the SSP23 grant, for which the City was

previously reimbursed, the Defendants must also be barred from unlawfully executing another

money-grab.

    D. The Public Interest and the Equities Strongly Favor the City

        As noted above, when the government is a party, “the ﬁnal two factors in the temporary

restraining order analysis—the balance of the equities and the public interest—merge.” Jones v.

Wolf, 467 F. Supp. 3d 74, 93-94 (W.D.N.Y. 2020) (citing Planned Parenthood of N.Y.C., Inc. v.

U.S. Dep’t of Health & Hum. Servs., 337 F. Supp. 3d 308, 343 (S.D.N.Y. 2018)); U.S. Dep’t of

Homeland Sec., 969 F.3d at 86. �e purpose of interim equitable relief “is not to conclusively

determine the rights of the parties . . . but to balance the equities as the litigation moves forward,”

bearing in mind “’the overall public interest.’” Trump v. Int’l Refugee Assistance Project, 582

U.S. 571, 580 (2017) (quoting Winter, 555 U.S. at 26). �ese factors weigh overwhelmingly in

the City’s favor.

        It is evident that “[t]here is generally no public interest in the perpetuation of an unlawful

agency action. To the contrary, there is a substantial public interest in having government agencies

abide by the federal laws that govern their existence and operations.” League of Women Voters of




                                                  21
         Case 1:25-cv-01510-JHR        Document 10        Filed 02/21/25      Page 27 of 29




U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (citation and internal quotations omitted). With

respect to appropriated funds, where Congress has made purposeful choices about what should

be funded, “there is an overriding public interest both in the particular facet determined by

Congress, in the evenhanded distribution of the . . . funds, and in the general importance of an

agency’s faithful adherence to its statutory mandate.” Jacksonville Port Auth. v. Adams, 556 F.2d

at 59.

         �is same public interest applies in the instant case. Congress made a considered decision

to appropriate funds to reimburse localities for the provision of shelter and necessary services to

non-citizen migrants recently encountered and released by DHS into the community. FEMA

adhered to that mandate in awarding funds to the City, all of which was in furtherance of the

public interest, as determined by Congress, in ensuring that the released migrants received basic

care and services for a limited period following their release by DHS into the community. In

contrast, the public interest is most assuredly not served by Defendants’ abrupt, baseless reversal

of $80 million intended to reimburse the City for approved, documented expenditures. �e public

has no interest in an agency action taken without rhyme or reason or due notice and process. Nor

does the public interest lie where such agency action leads to an unrecoverable shortfall in funding

for services the City provided to DHS.


                                         CONCLUSION

         “[P]articularly when so much is at stake, [] ‘the Government should turn square corners

in dealing with the people.’” Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 591 U.S. 1,

24 (2020) (quoting St. Regis Paper Co. v. U.S., 368 U.S. 208, 229 (1961) (Black, J., dissenting)).

Here, the executive branch of the Federal government has overstepped the bounds of its authority

through arbitrary and capricious, unmoored decision-making, to the City’s great harm. For these


                                                 22
      Case 1:25-cv-01510-JHR         Document 10        Filed 02/21/25    Page 28 of 29




reasons, Plaintiﬀ respectfully requests a temporary restraining order and entry of a mandatory

preliminary injunction pending the judgment in this action.

                                        Respectfully submitted,

                                            MURIEL GOODE-TRUFANT
                                            Corporation Counsel of
                                               the City of New York
                                            Attorney for Plaintiﬀ The City of New York
                                            100 Church Street
                                            New York, NY 10007
                                            (212) 356-1000


                                            By:             s/Doris Bernhardt
                                                    Joshua Rubin
                                                    Doris Bernhardt
                                                    Melanie Ash
                                                    June R. Buch
                                                    Aatif Iqbal
                                                    Gail Rubin
                                                    Elizabeth Slater

                                                    Assistant Corporation Counsels




                                               23
      Case 1:25-cv-01510-JHR           Document 10        Filed 02/21/25      Page 29 of 29




                 CERTIFICATE OF COMPLIANCE WITH LOCAL RULE

       As required by Local Civil Rule 7.1(c), I certify that the document contains 7134 words,

excluding the parts of the document that are exempted by Local Civil Rule 7.1(c) (“�ese limits

do not include the caption, any index, table of contents, table of authorities, signature blocks, or

any required certiﬁcates, but do include material contained in footnotes or endnotes.”).



                                                              s/Doris Bernhardt
                                                              Doris Bernhardt




                                                 24
